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 5
 6                            UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF WASHINGTON
 8
 9    UNITED STATES OF AMERICA,                )
                                               )     No. CR-06-124-LRS-1
10                      Plaintiff,             )
                                               )     ORDER GRANTING IN PART
11    v.                                       )     MOTION AND MODIFYING
                                               )     CONDITIONS OF RELEASE
12    RICK MENDOZA,                            )
                                               )
13                      Defendant.             )
                                               )
14
           At the January 4, 2007, hearing on Defendant's motion to reduce
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     bond, Defendant appeared with counsel Terence M. Ryan; Assistant
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     U.S. Attorney Stephanie Whitaker represented the United States.
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           For the reasons stated at oral argument, and in light of the
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     additional proffer, the Motion is GRANTED IN PART. Accordingly, the
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     court's Order Setting Conditions of Release is MODIFIED to the
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     limited extent of directing Defendant's release be conditioned upon
21
     posting a $300,000 Appearance bond (to be co-signed by Mrs. Mendoza
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     and one other responsible adult), and a $500,000 corporate surety,
23
     property and/or cash bond in lieu of the previously ordered $800,000
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     corporate surety bond.        All other conditions of the court's Order
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     dated November 13, 2006 remain and shall constitute the additional
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     conditions of Defendant's release.
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           The court notes the United States has requested a Nebbia
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     ORDER GRANTING IN PART MOTION AND
     MODIFYING CONDITIONS OF RELEASE - 1
     Case 2:06-cr-00124-LRS   ECF No. 68   filed 01/16/07   PageID.358 Page 2 of 2




 1   hearing prior to Defendant’s release if he is able to post bond.
 2         IT IS SO ORDERED.
 3         DATED January 16, 2007.
 4
                               s/ CYNTHIA IMBROGNO
 5                      UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING IN PART MOTION AND
     MODIFYING CONDITIONS OF RELEASE - 2
